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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                   CASE NO. 9:21-cv-81452-WPD

  HOWARD COHAN,

         Plaintiff,

  vs.

  ROSS DRESS FOR LESS INC.,

        Defendants.
  _______________________________/

                                    NOTICE OF SETTLEMENT

         Defendant, Ross Dress for Less, Inc., and Plaintiff, Howard Cohan, pursuant to S.D. Fla.

  L.R. 16.4, give notice that the parties have reached an agreement to settle this matter, subject only

  to the preparation and execution of a written settlement agreement and the Court’s approval of the

  settlement. The Parties request twenty (21) days to document and execute their settlement

  agreement, and to submit an appropriate motion seeking Court approval of their settlement.

  Subject to first obtaining the Court’s approval of the settlement, the parties will then stipulate to

  dismissal of this action.

  Dated this 12th day of October 2021.                  Respectfully submitted,

                                                        By: /s/ Courtney B. Wilson
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                                           ATTORNEYS FOR DEFENDANT,
                                           ROSS DRESS FOR LESS, INC.
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